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        ORDERED in the Southern District of Florida on January 15, 2020.




                                                       Laurel M. Isicoff
                                                       Chief United States Bankruptcy Judge
_____________________________________________________________________________




                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

         IN THE MATTER OF:                            CASE NO.: 18-24148-LMI
         Fidel Flamini                                CHAPTER 13

                     Debtor

           ORDER GRANTING DEBTOR’S MOTION TO TRANSFER OWNERSHIP OF PRIMARY
              RESIDENCE FROM DEBTOR TO AN ENTITY OWNED BY DEBTOR ECF 109

              THIS MATTER came to be heard on January 7, 2020 at 9:00am, on Debtor’s Motion
        to Transfer Ownership of Primary Residence from Debtor to an Entity Owned by Debtor [ECF
        No. 109]. The Court being otherwise duly advised and based upon the record does hereby
              ORDERED as follows:
              1.     The Debtor’s Motion to Transfer Ownership of Primary Residence from Debtor
        to an Entity Owned by Debtor is GRANTED.
              2.      The Debtor may transfer ownership of property located at 8180 Old Cutler
        Road, Miami, FL 33143 (“the property”) to an entity owned by the Debtor.
              3.     The property shall remain property of the estate upon the transfer of title.
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      4.     Attorney fees and cost is the amount of $525.00 for the filing and prosecuting
the Motion is Granted.
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Submitted by:
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Attorney Rachamin Cohen, Esq. is directed to serve copies of this Order on all interested
parties and file a Certificate of Service with the Court.
